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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                                  :
                                                  :
 BRIAN CARLTON and                                :
 MARGARET CARLTON,                                :
                                                  :
             Plaintiffs,                          :   Civil Action No. 2:22-cv-480
                                                  :
                                                  :
                vs.                               :
                                                  :
 NORWIN SCHOOL DISTRICT,                          :
 ROBERT WAYMAN and                                :
 WESTMORELAND COUNTY                              :
 REPUBLICAN COMMITTEE,                            :
                                                  :
                           Defendants

             BRIEF OF DEFENDANT, NORWIN SCHOOL DISTRICT,
             IN SUPPORT OF MOTION TO DISMISS PURSUANT TO
          RULE 12(B)(6) OF THE FEDERAL RULES OF CIVIL PROCEDURE

       Defendant, the Norwin School District (hereinafter the “District”), by and through its

attorneys, Andrews & Price, LLC, files the following Brief in Support of the District’s Motion to

Dismiss Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure:

                                        I.   BACKGROUND

       Plaintiffs initiated this matter by the filing of a Complaint on March 21, 2022. Plaintiffs

filed an Amended Complaint on May 25, 2022. As required by Rule 12(b)(6) of the Federal Rules

of Civil Procedure, Defendant assumes Plaintiffs’ allegations to be true, and views all facts in the

light most favorable to them. Viewed according to these standards, the facts affecting Plaintiff’s




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claims against the Defendants are construed as follows for purposes of resolving the Motion to

Dismiss.1

          Plaintiff Brian Carlton is a former President of the Norwin School District Board of School

Directors. (Amended Complaint – hereinafter “C” – ¶15). Plaintiff Brian Carlton is, and was at all

times relevant to the Amended Complaint, also employed as a special education teacher in the

Penn Trafford School District. (C ¶ 42). Defendant Robert Wayman (hereinafter “Wayman”) is,

and was at all times relevant to this Amended Complaint, a member of the Board of School

Directors for the Norwin School District (hereinafter “District”). (C ¶ 14). Plaintiff Margaret

Carlton is Plaintiff Brian Carlton’s wife. (C ¶ 6). Plaintiff Margaret Carlton is, and has been at all

times relevant to the Amended Complaint, employed as a teacher at the Norwin School District.

(C ¶ 30).

         During the time they served together on the District’s Board of School Directors, Plaintiff

Brian Carlton issued various public statements in opposition to political comments made by

Defendant Wayman. (C ¶ 15). At a virtual school board meeting on September 21, 2020, Plaintiff

Brian Carlton voted in favor of motions to call for Defendant Wayman’s resignation from the

board, to censure Defendant Wayman and to remove Defendant Wayman from his position as

Pennsylvania School Board Association (“PSBA”) liaison. (C ¶ 19).                          None of these motions

passed. (C ¶ 20). Plaintiffs aver that, at this meeting, Defendant Wayman stated that he would

“seek recourse against any individual that voted to take any action against him.” (C ¶ 18). Plaintiff

Brian Carlton left office upon losing his bid for reelection to the District’s Board of School

Directors in November of 2021. (C ¶ 29).



1
 In accordance with the standard of review, the “facts” relevant to this Motion to Dismiss are taken from the Plaintiffs’
Amended Complaint. By no means does the District concur with this rendition of the facts other than for the purpose
of resolving this motion.




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       Following the January 17, 2022 meeting of Defendant District’s Board of School Directors

an individual named Michelle Mendenhall sent an email to Defendant District’s Board of School

Directors, including Defendant Wayman. (C ¶ 32). In her email, Ms. Mendenhall claimed that,

while she was attending that meeting, “a projectile was launched” at her from the table that Plaintiff

Margaret Carlton was sitting at. Defendant Wayman responded that he “would do everything in

his power to identify the culprit and make sure they are prosecuted to the full extent of the law.”

(C ¶¶ 32, 34). Plaintiffs, in a vague and conclusory fashion, allege that, based upon their theories

about Defendant Wayman’s state of mind and motivation, he “intended to identify [Plaintiff

Margaret Carlton] as the “culprit” to interfere with her employment and business relationship with

the District.”(C ¶¶36, 37).

       Plaintiffs plead no facts in their Amended Complaint which set forth any further statements

or actions taken relative to this incident by anyone associated with the District. Plaintiffs have not

alleged in their Amended Complaint that anyone associated with the District ever accused Plaintiff

Margaret Carlton of throwing a projectile at Ms. Mendenhall. Plaintiffs have not alleged in their

Amended Complaint that the District, or any other School Director or District employee took any

adverse employment action against Plaintiff Margaret Carlton.

       Plaintiffs further allege that “[o]n or about February 7, 2022” a letter was sent to Plaintiff

Brian Carlton’s employer, the Penn Trafford School District, which accused him of “spread[ing]

lies and slander[ing] people because he is upset that he was unseated from the Norwin School

Board” and engaging in “unprofessional and possibly illegal behavior.” (C ¶43). The letter also

stated that the sender[s] would report Plaintiff Brian Carlton to the Pennsylvania Department of

Education for his alleged misconduct. (C ¶47). This letter was signed “Concerned Citizens of Penn




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Trafford School District.” (C ¶43). Plaintiffs have not plead any facts which identify Defendant

Wayman as the author or sender of the letter, or as the source of the allegations contained therein.

       In the Amended Complaint, Plaintiffs assert that “Plaintiff Brian Carlton “believes, and

therefore avers, that Defendant Wayman made the statements in that letter’” based upon a vague

and conclusory allegation that “Defendant Wayman has told individuals in the community that he

would attempt to have Plaintiff Brian Carlton removed from his position as a teacher in retaliation

for his political opposition to Defendant Wayman.” (C ¶49). Plaintiffs do not identify any

individuals who heard Defendant Wayman make such a statement. Plaintiffs have not plead facts

in their Amended Complaint which allege that any other School Director or District employee took

action which caused this letter to be sent to Plaintiff Brian Carlton’s employer.

       Plaintiff’s Amended Complaint contains the following two counts against the District:

Count II (asserted by Plaintiff Brian Carlton against all Defendants) - Constitutional and Civil

Rights Pursuant to 42 U.S.C. §1983, First Amendment Retaliation; and Count III (asserted by

Plaintiff Margaret Carlton against Defendants District and Wayman) - Constitutional and Civil

Rights Pursuant to 42 U.S.C. §1983, First Amendment Retaliation.

       The District files the within Brief in Support of the Motion to Dismiss all of the counts set

forth against it in Plaintiffs’ Amended Complaint (Counts II and III), as Plaintiff’s claims fail to

state a claim upon which relief can be granted.

                               II.     STANDARD OF REVIEW


       Federal Rule of Civil Procedure 12(b)(6) states that a complaint may be dismissed for

“failure to state a claim upon which relief can be granted.” Fed.R.Civ.P. 12(b)(6). In order to

survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true,

to “state a claim to relief that is plausible on its face.” Iqbal, 129 S.Ct. at 1949 (quoting Twombly,




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550 U.S. at 570). In Iqbal, the Supreme Court outlined a two-part analysis that district courts must

conduct when reviewing a complaint challenged under 12(b)(6). See Flower v. UPMC Shadyside,

578 F.3d 203, 210–211 (3d Cir. 2009).

         In Fowler, this Court held that, following Iqbal, motions to dismiss for failure to state a

claim in civil cases should be subject to a two-part analysis.2 Fowler, 578 F.3d at 210–211. First,

the court should separate the factual and legal elements of a claim; it must accept any well-pleaded

facts as true but may disregard any legal conclusions. Id. Second, the court must determine whether

the well-pleaded facts are sufficient to show that the plaintiff has a “plausible claim for relief.” Id.

at 211. “In other words, a complaint must do more than allege the plaintiff's entitlement to relief.

A complaint has to ‘show’ such an entitlement with its facts.” Id. If the well-pleaded facts do no

more than permit the court to infer the mere possibility of misconduct, the complaint has not

“shown” that the pleader is entitled to relief.3 Id.

         The Court recognized in Fowler that both Twombly and Iqbal specifically repudiated the

earlier standard of Conley v. Gibson, 355 U.S. 41, 45-46 (1957), which permitted dismissal of a

complaint for failure to state a claim only if “it appear[ed] beyond doubt that the plaintiff can prove

no set of facts in support of his claim which would entitle him to relief.” Fowler, 578 F.3d at 210.

         A complaint must do more than allege the plaintiff’s entitlement to relief, but instead must

“show” such entitlement with its facts in order to survive a motion to dismiss. Id. Therefore,

“[d]etermining whether a complaint states a plausible claim for relief will . . . be a context-specific

task that requires the court to draw on its judicial experience and common sense.” McTernan v.

City of York, 577 F.3d 521, 530 (3d Cir. 2009) (quoting Iqbal, 129 S.Ct. at 1950).


2
  In Burtch v. Milberg Factors, Inc., 662 F.3d 212, 221 (3d Cir. 2011), cert. denied, 132 S. Ct. 1861 (2012), the Court
added the step of first identifying the elements of the plaintiff’s cause of action.
3
  Twombly and Iqbal are not satisfied by the presence of any factual allegations, but only by factual allegations
sufficient to support a plausible, rather than simply conceivable, claim.




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          Although this Court must accept all well pleaded facts in the complaint as true, legal

conclusions are not “entitled to the assumption of truth.” Iqbal, 129 S. Ct. at 1950 (citation

omitted). Because Fed. R. Civ. P. 8 (a)(2) requires a showing, rather than a blanket assertion, of

entitlement to relief, courts evaluating the viability of a complaint must look beyond conclusory

statements and determine whether the complaint has alleged enough facts to state a claim to relief

that is plausible on its face. Bell Atlantic v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 1974, 167

L. Ed. 2d 929, 949 (2007).

          Indeed, it is not sufficient to allege mere elements of a cause of action; instead a complaint

must allege facts “to raise a right to relief above the speculative level.” Umland v. Planco

Financial Services, Inc., 542 F.3d 59, 64 (3d Cir. 2008) (quoting Philips v. County of Allegheny,

515 F.3d 224, 233 (3d Cir. 2008)). A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged. Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d

868 (2009). Examination of the context of the claim, including the underlying substantive law is

therefore necessary in order to properly assess plausibility. Renfro v. Unisys Corp., 671 F.3d 314,

321 (citing In re Insurance Brokerage Antitrust Litigation, 618 F.3d 300, 320, n. 18 (3d Cir.

2010)).

          A suit against a state official in his or her official capacity is not a suit against the official

but rather is a suit against the official's office. Brandon v. Holt, 469 U.S. 464, 471, 105 S.Ct. 873,

877, 83 L.Ed.2d 878 (1985). As such, it is no different from a suit against the State itself. See, e.g.,

Kentucky v. Graham, 473 U.S. 159, 165–166, 105 S.Ct. 3099, 3104–3105, 87 L.Ed.2d 114 (1985);

Monell, at 690, n. 55, 98 S.Ct., at 2035, n. 55.




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                                      III.   ARGUMENT

A.     All of Plaintiffs’ Claims Fail Because the Plaintiffs Have Failed to Set Forth Material
       Facts to Establish that the District Took Any Action Based Upon the Affirmative Vote
       of a Majority of School Board Directors.

       The Pennsylvania Public School Code of 1949 (Act of March 10, 1949, P.L. 30, as

amended, 24 P.S. §§ 1–101–27–2702) (hereinafter the “PA School Code”) confers upon the

District’s Board of Directors the responsibility of managing the affairs of the District. It also

confers upon the Board any implied powers which are necessary to give effect to this

responsibility. The PA School Code confers no authority upon individual school board members

to act unilaterally under the guise of carrying out the responsibilities of a board as a whole. The

law is clear that actions by a School Board are taken by collective authority. See

generally, Sections 101–2702 of the PA School Code. See also Bangor Area Educ. Ass’n v. Angle,

130 Ed. Law Rep. 830, 720 A.2d 198, 201 (Pa. Commw. 1998).

       Section 510 of the PA School Code provides that a school board may adopt and enforce

reasonable rules and regulations it deems necessary and proper regarding the management of its

school affairs. However, there are no procedures in existence that confer upon individual Board

members the authority to act on behalf of the District without approval by the Board as a whole.

In other words, neither the PA School Code nor any regulation enacted pursuant thereto confer

upon any member of the District’s Board of Directors the authority to individually act on behalf of

the District. See Bangor, at 201.

       Plaintiffs allege in conclusory manner and without any factual support that certain actions

of Defendant, Robert Wayman, were taken in his official capacity as a member of the District’s

Board of Directors, there are no allegations in the Amended Complaint that a majority of School

Board Directors authorized Mr. Wayman to engage in the conduct alleged, or otherwise Act on




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behalf of the Board as a whole. Again, The law is clear that actions by a School Board are taken

by collective authority. Id.

       As there were no affirmative acts taken by the District, the District cannot be held liable to

Plaintiffs under any theory of liability.

B.     Plaintiffs’ claims of First Amendment retaliation against the District set forth in
       Counts II and III of the Amended Complaint must fail, as they have failed to plead
       any facts by which this Court may adduce that the District or any District employee
       took a retaliatory action against them.

       Even assuming for the sake of argument that Defendant Wayman’s alleged conduct could

somehow constitute affirmative action on behalf of the District, to plead a First Amendment

retaliation claim pursuant to Section 1983, a plaintiff must allege: (1) constitutionally protected

conduct, (2) retaliatory action sufficient to deter a person of ordinary firmness from exercising his

constitutional rights, and (3) a causal link between the constitutionally protected conduct and the

retaliatory action. Thomas v. Independence Twp., 463 F.3d 285, 296 (3d Cir.2006). “[T]he key

question in determining whether a cognizable First Amendment claim has been stated is whether

‘the alleged retaliatory conduct was sufficient to deter a person of ordinary firmness from

exercising his First Amendment rights.” Suppan v. Dadonna, 203 F.3d 228, 235 (3d Cir.2000).

       “Where a public official’s alleged retaliation is in the nature of speech, in the absence of a

threat, coercion, or intimidation intimating that punishment, sanction or adverse regulatory action

will imminently follow, such speech does not adversely affect [one's] First Amendment rights,

even if defamatory.” Municipal Revenue Services, Inc. v. McBlain, 347 F. App'x 817, 825 (3d Cir.

2009) (quoting Suarez Corp. Industries v. McGraw, 202 F.3d 676, 687 (4th Cir.2000)). “A

retaliation claim is not the proper vehicle for the resolution of quotidian disputes among elected

officials.” Zimmerlink v. Zapotsky, 539 Fed. Appx. 45, 50 (3d Cir. 2013)(unpublished) citing

Tenney v. Brandhove, 341 U.S. 367, 378, 71 S.Ct. 783, 95 L.Ed. 1019 (1951).




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        While Plaintiffs have sufficiently alleged that Plaintiff Brian Carlton engaged in

constitutionally protected conduct through his political opposition to Defendant Wayman, they

have failed to plead facts by which this Court can reasonably adduce that the District or any District

employee took any retaliatory action against him or his wife. Rather, Plaintiffs have only offered

unsupported theories and conclusions regarding actions that they believe were taken by Defendant

Wayman while acting “in his capacity as a duly elected school board member of Defendant

District.”

        Courts, when reviewing a Rule 12(b)(6) motion for dismissal, must accept as true the

factual allegations in the complaint and all reasonable inferences that can be drawn from them.

However, they are not required to accept as true unsupported conclusions and unwarranted

inferences. Schuylkill Energy Resources, Inc. v. Pennsylvania Power & Light Co., 113 F.3d 405,

417 (3d Cir. 1997). “[C]ourts have an obligation in matters before them to view the complaint as

a whole and to base rulings not upon the presence of mere words but, rather, upon the presence of

a factual situation which is or is not justiciable.” City of Pittsburgh v. West Penn Power Co., 147

F.3d 256, 263 (3d Cir.1998). While courts draw on the allegations in a complaint, they must do so

in a “realistic, rather than a slavish, manner.” Id. No realistic construction of the allegations plead

in Plaintiffs’ Amended Complaint can give rise to a plausible claim of First Amendment

retaliation.

Count II- Plaintiff Brian Carlton.

        In Count II, Plaintiffs allege that Defendant Wayman authored a letter containing “false

and defamatory” statements about Plaintiff Brian Carlton’s character and professional conduct,

which was sent to his employer, the Penn Trafford School District. In support of this allegation,

Plaintiffs plead that “Defendant Wayman has told individuals in the community that he would




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attempt to have Plaintiff Brian Carlton removed from his position as a teacher in retaliation for his

political opposition to Defendant Wayman.”

       Nowhere in the Amended Complaint do Plaintiffs identify the person or persons who heard

Defendant Wayman make this statement. Nor do they plead any facts which could otherwise

identify Defendant Wayman as the author of this letter or the source of the allegations made

therein. Plaintiffs have not alleged that any other School Director or District employee sent or

authored the letter or were the proponents of the allegations set forth therein. Rather they are reliant

on Plaintiff Brian Carlton’s unsupported conclusion that Defendant Wayman, acting for the

District, was responsible for this letter being sent to his employer. The Court cannot adopt these

unwarranted inferences as fact. Plaintiffs’ have failed to plead a plausible claim that anyone acting

on behalf of the District committed the actions that Plaintiffs claim were taken against Brian

Carlton in retaliation for his protected First Amendment activity.

       Even assuming, arguendo, that the Plaintiffs’ Amended Complaint contained facts which

allow the Court to plausibly adduce that Defendant Wayman sent the anonymous letter to Penn

Trafford School District, it would still fail to meet the standard for First Amendment retaliation

when the only retaliatory action alleged is in nature of speech by a government official articulated

by the Third Circuit in McBlain. Plaintiff has not alleged that the letter sent to Penn Trafford School

District contains any “threat, coercion, or intimidation intimating that punishment, sanction or

adverse regulatory action” by the Norwin School District “will imminently follow.” McBlain at

825. In fact, Plaintiff Brian Carlton does not even allege that the letter was sent to him. The only

allegation Plaintiffs make that the letter contains anything resembling a threat of punishment,

sanction or adverse regulatory action is the mention of reporting Plaintiff Brian Carlton to “the

Department of Education or other proper legal authorities.” However, even this allegation does not




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reach the threshold for showing retaliatory action based on speech by a government official. The

District cannot compel the Department of Education to punish, sanction or take adverse regulatory

action against Plaintiff Brian Carlton. Accordingly, Plaintiffs have failed to plead facts necessary

to state a claim against the District for First Amendment retaliation against Plaintiff Brian Carlton.

Count III- Plaintiff Margaret Carlton.

       In Count III of their Amended Complaint, Plaintiffs allege that Defendant Wayman, acting

in his official capacity as a duly elected school board member of the District, responded to an email

from Ms. Mendenhall who claimed that, while she was attending a meeting of the District’s Board

of School Directors, someone sitting at the same table as Plaintiff Margaret Carlton threw a

“projectile” at her, constituted retaliation. The statement made by Defendant Wayman in response

to Ms. Mendenhall was simply a pledge to look into the incident. Plaintiffs do not aver that

Defendant Wayman ever mentioned Plaintiff Margaret Carlson by name. Nor does the Amended

Complaint identify any adverse employment action taken against Plaintiff Margaret Carlson by

the District as a result of Defendant Wayman’s email response.

       The “key question in determining whether a cognizable First Amendment claim has been

stated is whether ‘the alleged retaliatory conduct was sufficient to deter a person of ordinary

firmness from exercising his First Amendment rights.” Suppan at 235. It is unfathomable that any

person of ordinary firmness would be deterred from exercising his First Amendment rights for fear

of a school director responding to an email pledging to look into an allegation from a third party

that someone threw something at them during a school board meeting.

        Allowing Plaintiffs to proceed with this claim on the basis that Defendant Wayman's

speech in response to Ms. Mendenhall’s email constitutes evidence of retaliatory action “would

trivialize the First Amendment to hold that harassment for exercising the right of free speech was




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always actionable no matter how unlikely to deter a person of ordinary firmness from that

exercise.” Zimmerlink at 50. It contains no threat of punishment, sanction, or adverse regulatory

action and therefore fails to meet threshold requirement for speech by a government official to

qualify as retaliatory action in the absence of any other evidence. McBlain at 825.

       As Plaintiffs have failed to establish that any action was taken by any School Director or

District employee against either of them in retaliation for Plaintiff Brian Carlton’s political

opposition to Defendant Wayman, Plaintiffs have failed to state a claim for First Amendment

Retaliation under §1983. Accordingly, the claims against the District in Count II and Count III of

the Amended Complaint must be dismissed.

C.     Plaintiffs’ §1983 Claims against the District for First Amendment Retaliation must
       fail because Plaintiffs cannot demonstrate a retaliatory policy or custom attributable
       to the District.

       Whether a municipality or other body of local government, such as a school district, may

be held liable under §1983 is governed by the doctrine announced in Monell v. New York City

Department of Social Services, 436 U.S. 658, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978). A

governmental entity, however, may not be held liable under § 1983 for constitutional violations

caused solely by its employees or agents under the principle of respondeat superior. Id. Liability

against a government entity must be founded upon evidence indicating the government itself

supported a violation of the plaintiff’s constitutional rights, meaning that “any injury must be

inflicted by execution of [its] policy or custom.” Santiago v. Warminster Tp., 629 F.3d 121, 135

(3d Cir. 2010) quoting Monell at 436.

        Proving a government policy or custom can be accomplished in a number of different

ways. Bielevicz v. Dubinon, 915 F.2d 845, 849-850 (3d Cir.1990). “Policy is made when a

‘decisionmaker, possessing final authority to establish municipal policy with respect to the action,’




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issues an official proclamation, policy or edict.” Andrews v. City of Philadelphia, 895 F.2d 1469,

1480 (3d Cir.1990), quoting Pembaur v. City of Cincinnati, 475 U.S. 469, 481, 106 S.Ct. 1292, 89

L.Ed.2d 452 (1986)). Ordinarily, a single unconstitutional act by a municipal employee will not

create municipal policy. See Oklahoma City v. Tuttle, 471 U.S. 808, 823–24 (1985) (plurality

opinion). However, a municipality may be liable under § 1983 for a single decision or action by a

municipal official, provided the decisionmaker possesses “final authority” to establish municipal

policy with respect to the action ordered. Pembaur v. City of Cincinnati, 475 U.S. 469, 481 (1986)

(plurality opinion); see also Bartholomew v. Fischl, 782 F.2d 1148, 1154 (3d Cir.1986).

       The Third Circuit, in Hill v. Borough of Kutztown, 455 F.3d 225, 246 (3rd Cir., 2006),

stated that “[i]n order to ascertain if an official has final policy-making authority, and can thus

bind the municipality by his conduct, a court must determine (1) whether, as a matter of state law,

the official is responsible for making policy in the particular area of municipal business in

question...and (2) whether the official's authority to make policy in that area is final and

unreviewable.” (Internal citations omitted).

       This standard was applied by the Third Circuit to a case involving a multi-member board

of commissioners in Laverdure v. County of Montgomery, 324 F.3d 123 (3rd Cir., 2003). In

Laverdure, the Chairman of the Board of Township Commissioners made public statements

regarding a dismissed employee at a press conference following her separation from employment.

In connection with the dismissed employee's Section 1983 claim against the Township, the Court

analyzed the Chairman's final policy-making authority: “It is undisputed that only a majority of

the three-member Board is authorized to establish policy on behalf of the County. 16 Pa. Cons.

Stat. Sec. 504. Therefore, whatever the contents of [the Chairman's] statements, because he was

only one member of the Board, those comments do not constitute County policy.” 324 F.3d at 125.




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       The analysis of a single board member’s final authority to establish a municipal policy

presented in Laverdure mirrors the circumstances of the present case. Pennsylvania law is clear

that actions by a school board are taken by collective authority. Bangor, supra.

       Plaintiffs do not allege that any retaliatory actions were taken pursuant to a majority vote

of the District’s Board of School Directors. Any retaliatory action in the present action is allegedly

attributable to one member of the nine-member District Board of Directors, Defendant Wayman.

As such, the letter to Penn Trafford School District, even if it were proven to be attributable to

Defendant Wayman, cannot provide the basis of the establishment of a policy or custom necessary

for a First Amendment Retaliation claim under §1983 against the District. Nor does Defendant

Wayman’s email response to Ms. Mendenhall constitute a custom or policy of the District.

Accordingly, all claims brought against the District fail to state a claim upon which relief can be

granted. This includes any individual claims brought against Defendant Wayman in his official

capacity with the District. Kentucky v. Graham, 473 U.S. 159, 166–67, 105 S.Ct. 3099, 87 L.Ed.2d

114 (1985).

       Because Plaintiffs have failed to state a claim upon which relief can be granted with respect

to their First Amendment Retaliation claims against the District, Counts II and III of Plaintiff’s

Amended Complaint must be dismissed with prejudice.

                                      IV.     CONCLUSION

       For the reasons set forth above, the Defendant, Norwin School District respectfully

requests that this Honorable Court find that Plaintiffs have failed to state a claim for which relief

can be granted with respect to Count II and Count III of Plaintiff’s Amended Complaint.

Accordingly, all of Plaintiff’s’ claims against Defendant, Norwin School District, must be

dismissed with prejudice.




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                            Respectfully submitted,

                            ANDREWS & PRICE LLC

                      By:   /s/ Joseph W. Cavrich
                            Joseph W. Cavrich, Esq.
                            PA I.D. No. 322929
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                             CERTIFICATE OF COMPLIANCE

       I hereby certify that I have complied with the Court’s Order of March 23, 2022 (ECF No.

3), which obligated the undersigned counsel to make a good faith effort to meet and confer with

Plaintiff’s counsel before filing the within motion to determine whether any pleading defects were

curable by amendment, thereby obviating part or all of the motion.

                                             /s/ Joseph W. Cavrich
                                             Joseph W. Cavrich, Esq.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 8, 2022, the foregoing was filed electronically. Notice of this

filing will be sent to all parties by operation of the Court’s electronic case filing system and

constitutes service of this filing under Rule 5(b)(2)(E) of the Federal Rules of Civil Procedure.

Parties may access this filing through the Court’s ECF system.




                                             /s/ Joseph W. Cavrich
                                             Joseph W. Cavrich




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